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12 pro hac vice application forthcoming

13 Attorneys for Plaintiff

14 AUGUST IMAGE, LLC

15
                         UNITED STATES DISTRICT COURT
16
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
17

18
     AUGUST IMAGE, LLC,                      )   Case No.:
19                                           )
                                             )
20                              Plaintiff,   )
                                             )   DEMAND FOR JURY TRIAL
21        vs.                                )
                                             )   COMPLAINT FOR COPYRIGHT
22 RAP-UP, LLC,                              )   INFRINGEMENTAND JURY DEMAND
                                             )   (INJUNCTIVE RELIEF DEMANDED)
23                                           )
                                             )
24                           Defendant.      )
                                             )
25

26

27

28
                                                 -1-
        COMPLAINT FOR COPYRIGHT INFRINGEMENT AND JURY DEMAND
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 1         Plaintiff AUGUST IMAGE, LLC brings this Complaint in the United States
 2
     District Court for the Southern District of California against Defendant RAP-UP,
 3

 4 LLC for damages and injunctive relief, and in support thereof state as follows:

 5                               SUMMARY OF THE ACTION
 6
        1. Plaintiff AUGUST IMAGE, LLC (“August” or “Plaintiff”) bring this action for
 7

 8 violations of exclusive rights under the Copyright Act, 17 U.S.C. § 106, to copy and

 9 distribute Plaintiff’s original copyrighted Works of authorship.
10
        2. August is a New York Limited Liability Company with a business address of
11
                  nd
12 793 Broadway, 2 Floor, New York, NY 10003.

13      3. August is a unique agency model offering a boutique experience for clients
14
     worldwide. Beyond the unique creative caliber and exclusivity of August’s
15

16 photography, their deep knowledge of their collection and focus on the highest-level

17 of customer service make August an exceptional visual resource. August represents

18
     an elite group of portrait, lifestyle, beauty, and fashion photographers for editorial
19
20 and commercial licensing.

21      4. Defendant RAP-UP, LLC (“Rap-Up” or “Defendant”) is a nationwide hip-hop
22
     and R&B magazine for Gen Y. Founded in 2001, with its registered place of business
23

24 at 9014 Lloyd Place, West Hollywood, CA 90069, and can be served by serving its

25 Registered Agent, Devin Lazerine, 9014 Lloyd Place, West Hollywood, CA 90069.

26
        5. Defendant owns, operates, and is solely responsible for the content posted to
27

28 the website, www.rap-up.com, and corresponding social media (“Website”).
                                                -2-
        COMPLAINT FOR COPYRIGHT INFRINGEMENT AND JURY DEMAND
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 1      6. Plaintiff alleges Defendant copied Plaintiff’s copyrighted Works from the
 2
     internet to advertise, market, and promote its business activities and services, as well
 3

 4 as to accompany Defendant’s content displayed on Website.

 5      7. Defendant received a direct financial benefit attributable to the copying of
 6
     Plaintiff’s copyrighted Works, which it has the right and ability to control.
 7

 8                               JURISDICTION AND VENUE

 9      8. This is an action arising under the Copyright Act, 17 U.S.C. § 501.
10
        9. This Court has subject matter jurisdiction over these claims pursuant to 28
11

12 U.S.C. §§ 1331, 1338(a).

13      10.Defendant is subject to personal jurisdiction in the State of California.
14
        11.Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) and 1400(a)
15

16 because the events giving rise to the claims occurred in this district, Defendant

17 engaged in infringement in this district, Defendant resides in this district, and

18
     Defendant is subject to personal jurisdiction in this district.
19
20

21                         THE COPYRIGHTED WORKS AT ISSUE
22
           Attached hereto as Exhibit 1 are copies of the original copyrighted works at
23

24 issue in this case, including corresponding photographers’ names, copyright titles,

25 registration numbers, and registration issue dates for the copyrighted works infringed

26
     by Defendants, and which are referred to herein as “Works.” Attached hereto as
27

28 Exhibit 2 are copies of the Works infringed and infringing URLs.
                                                 -3-
        COMPLAINT FOR COPYRIGHT INFRINGEMENT AND JURY DEMAND
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 1      12.Plaintiff’s Works are protected by copyright but are not otherwise confidential,
 2
     proprietary, or trade secrets.
 3

 4      13.At all relevant times, Plaintiff was the owner of the copyrighted Works at issue

 5 in this case.

 6
                    FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS
 7

 8      14.Among Plaintiff’s many celebrated photographers are Gavin Bond, Sebastian

 9 Kim, Ramona Rosales, Joe Pugliese, Peter Yang, Mark Seliger, Miller Mobley,
10
     Danielle Levitt and Guerin Blask.
11

12      15.Plaintiff is the exclusive licensee of the photographic images by Bond, Kim,

13 Rosales, Joe Pugliese, Yang, Seliger, Mobley, Levitt and Blask, including the sixteen

14
     copyrighted Works at issue in this litigation.
15

16      16.The Works are original works of authorship.
17      17.On behalf of Bond, Kim, Rosales, Joe Pugliese, Yang, Seliger, Mobley, Levitt
18
     and Blask, Plaintiff obtained certificates of registration with the United States
19
20 Copyright Office for the Works.

21      18.Defendant has never been licensed to use the Works at issue in this action for
22
     any purpose.
23

24      19.On a date after the Works at issue in this action were created, but prior to the
25 filing of this action, Defendant copied the Works.

26

27

28
                                                -4-
        COMPLAINT FOR COPYRIGHT INFRINGEMENT AND JURY DEMAND
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 1      20.On or about December 1, 2018, Plaintiff discovered the unauthorized use by
 2
     Defendant of some of Works on Website. Thereafter, additional unauthorized uses of
 3

 4 the Works by Defendant were discovered.

 5      21.Defendant copied Plaintiff’s copyrighted Works without Plaintiff’s permission.
 6
        22.Defendant copied and distributed Plaintiff’s copyrighted Works in connection
 7

 8 with its business for purposes of advertising and promoting Defendant’s business and

 9 services, and in the course and scope of advertising and selling products and services.
10
        23.Plaintiff’s Works are protected by copyright but are not otherwise confidential,
11

12 proprietary, or trade secrets.

13      24.Defendant committed copyright infringement of the Works as evidenced by the
14
     documents attached hereto as Exhibit 2.
15

16      25.August Image never gave Defendant permission or authority to copy, distribute
17 or display the Works at issue in this case.

18
          COUNT I: INFRINGEMENT OF COPYRIGHT PURSUANT TO 17 U.S.C. §
19
20                                             101 ET SEQ.
21      26.Plaintiff incorporate the allegations of paragraphs 1 through 25 of this
22
     Complaint as if fully set forth herein.
23

24      27.Plaintiff owns valid copyrights in the Works at issue in this case.
25      28.Plaintiff registered the Works at issue in this case with the Register of
26
     Copyrights pursuant to 17 U.S.C. § 411(a).
27

28
                                                 -5-
        COMPLAINT FOR COPYRIGHT INFRINGEMENT AND JURY DEMAND
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 1      29.Defendant copied, displayed, and distributed the Works at issue in this case and
 2
     made derivatives of the Works without Plaintiff’s authorization in violation of 17
 3

 4 U.S.C. § 501.

 5      30.Defendant performed the acts alleged in the course and scope of its business
 6
     activities. Defendant’s acts were willful.
 7

 8      31.Plaintiff has been damaged.

 9      32.The harm caused to Plaintiff has been irreparable.
10
                                     PRAYER FOR RELIEF
11

12         WHEREFORE, August Image pray for judgment against Defendant that:

13      a. Defendant and its officers, agents, servants, employees, affiliated entities, and
14
     all of those in active concert with them, be preliminarily and permanently enjoined
15

16 from committing the acts alleged herein in violation of 17 U.S.C. § 501;

17 b.      Defendant be required to pay Plaintiff its actual damages and Defendant’s
18
     profits attributable to the infringement, or, at Plaintiff’s election, statutory damages,
19
20 as provided in 17 U.S.C. § 504;

21      c. Plaintiff be awarded their attorneys’ fees and costs of suit under the applicable
22
     statutes sued upon;
23

24      d. Plaintiff be awarded pre and post-judgment interest; and
25      e. Plaintiff be awarded such other and further relief as the Court deems just and
26
     proper.
27

28 /
                                                  -6-
         COMPLAINT FOR COPYRIGHT INFRINGEMENT AND JURY DEMAND
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 1 Dated: November 15, 2021                          FARRIMOND LAW OFFICES,
                                                     a Professional Corporation
 2

 3                                                   //s/ Randall S. Farrimond
 4                                                    RANDALL S. FARRIMOND
                                                      Attorneys for Plaintiff
 5                                                    AUGUST IMAGE, LLC
 6                                          -and-
 7
     Dated: November 15, 2021                        THE LAW OFFICE OF DAVID C.
 8                                                   DEAL, P.L.C.
 9
                                                     //s/ David C. Deal
10                                                    DAVID C. DEAL
                                                      Attorneys for Plaintiff
11                                                    AUGUST IMAGE, LLC
12                                                   pro hac vice application forthcoming

13                             DEMAND FOR JURY TRIAL
14
           Plaintiff hereby demands a trial by jury on all claims for which there is a right
15

16 to jury trial.

17 Dated: November 15, 2021                          FARRIMOND LAW OFFICES,
18
                                                     a Professional Corporation

19
                                                     //s/ Randall S. Farrimond
20                                                    RANDALL S. FARRIMOND
                                                      Attorneys for Plaintiff
21                                                    AUGUST IMAGE, LLC
22                                          -and-
23
     Dated: November 15, 2021                        THE LAW OFFICE OF
24                                                   DAVID C. DEAL, P.L.C.
25
                                                     //s/ David C. Deal
26                                                    DAVID C. DEAL
                                                      Attorneys for Plaintiff
27                                                    AUGUST IMAGE, LLC
28                                                   pro hac vice application forthcoming
                                               -7-
        COMPLAINT FOR COPYRIGHT INFRINGEMENT AND JURY DEMAND
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                   EXHIBIT 1
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                      Photographer: Sebastian Kim
                        Image Title: AU11000579
                   Registration Number: VA 2-199-785
                    Registration Date: March 11, 2020
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                       Photographer: Sebastian Kim
                         Image Title: AU1993526
                    Registration Number: VA 2-202-146
                      Registration Date: April 6, 2020
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                       Photographer: Sebastian Kim
                         Image Title: AU1994077
                    Registration Number: VA 2-199-818
                     Registration Date: March 11, 2020
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                       Photographer: Sebastian Kim
                         Image Title: AU1992973
                    Registration Number: VA 2-143-521
                     Registration Date: March 12, 2019
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                       Photographer: Sebastian Kim
                         Image Title: AU1994570
                    Registration Number: VA 2-199-785
                     Registration Date: March 11, 2020
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                        Photographer: Gavin Bond
                         Image Title: AU11208274
                    Registration Number: VA 2-229-374
                    Registration Date: October 19, 2020
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                      Photographer: Ramona Rosales
                         Image Title: AU1943063
                    Registration Number: VA 2-221-660
                     Registration Date: October 5, 2020
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                         Photographer: Joe Pugliese
                         Image Title: AU11255510
                    Registration Number: VAu 1-344-844
                     Registration Date: January 4, 2019
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                         Photographer: Joe Pugliese
                         Image Title: AU11255507
                    Registration Number: VAu 1-344-844
                     Registration Date: January 4, 2019
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                         Photographer: Joe Pugliese
                         Image Title: AU11255512
                    Registration Number: VAu1-344-844
                     Registration Date: January 4, 2019
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                         Photographer: Peter Yang
                         Image Title: AU11159076
                    Registration Number: VA 2-213-102
                      Registration Date: July 6, 2020
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                        Photographer: Mark Seliger
                         Image Title: AU2159161
                    Registration Number: VA 2-106-449
                     Registration Date: April 21, 2017
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                        Photographer: Mark Seliger
                         Image Title: AU2158627
                    Registration Number: VA 2-098-099
                     Registration Date: March 21, 2018
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                       Photographer: Miller Mobley
                         Image Title: AU11480465
                    Registration Number: VA 2-191-494
                    Registration Date: January15, 2020
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                       Photographer: Danielle Levitt
                         Image Title: AU11431613
                    Registration Number: VA 2-240-191
                    Registration Date: January 23, 2021
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                        Photographer: Guerin Blask
                          Image Title: AU277257
                    Registration Number: VA 2-212-178
                      Registration Date: July 6, 2020
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                    EXHIBIT 2
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  https://www.rap-up.com/2013/11/13/kendrick-lamar-suits-up-and-freestyles-for-gq/
  Case 2:21-cv-08999 Document 1 Filed 11/16/21 Page 27 of 49 Page ID #:27



https://www.rap-up.com/2012/03/14/drake-suits-up-for-gq-and-talks-father-fame-and-feelings/
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      https://www.rap-up.com/2012/08/28/rita-ora-shows-off-her-tattoos-for-gq/
   Case 2:21-cv-08999 Document 1 Filed 11/16/21 Page 29 of 49 Page ID #:29



                 https://www.rap-up.com/app/uploads/2016/01/r-kelly-gq.jpg

https://www.rap-up.com/2016/01/20/r-kelly-opens-up-about-childhood-abuse-sexual-allegations-
                                          aaliyah/

                           https://www.rap-up.com/artist/aaliyah/
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https://www.rap-up.com/2014/07/01/harlem-renaissance-asap-mob-camron-suit-up-for-gq/
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       https://www.rap-up.com/app/uploads/2018/02/quality-control-complex.jpg

https://www.rap-up.com/2018/02/26/migos-opens-up-about-300-entertainment-legal-battle/
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       https://www.rap-up.com/app/uploads/2017/04/chance-the-rapper-time-feat.jpg

https://www.rap-up.com/2017/04/20/chance-the-rapper-alicia-keys-john-legend-donald-glover-
                            time-100-most-influential-people/
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    https://www.rap-up.com/app/uploads/2018/07/kid-cudi-billboard-headline.jpg

                      https://www.rap-up.com/artist/kid-cudi/

 https://www.rap-up.com/2018/07/19/kid-cudi-talks-depression-happiness-kanye-west/
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        https://www.rap-up.com/photos/kid-cudi-covers-billboard/?image=3
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            https://www.rap-up.com/photos/kid-cudi-covers-billboard/
Case 2:21-cv-08999 Document 1 Filed 11/16/21 Page 42 of 49 Page ID #:42



          https://www.rap-up.com/app/uploads/2017/11/kendrick-variety.jpg

  https://www.rap-up.com/2017/11/21/kendrick-lamar-covers-variety-hitmakers-issue/
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https://www.rap-up.com/2016/11/02/bruno-mars-covers-rolling-stone-talks-kanye-west-diss-
                                      beyonce/
  Case 2:21-cv-08999 Document 1 Filed 11/16/21 Page 45 of 49 Page ID #:45



            https://www.rap-up.com/app/uploads/2017/08/kendrick-lamar-rs.jpg

https://www.rap-up.com/2017/08/09/kendrick-lamar-covers-rolling-stone-talks-drake-beyonce-
                                     ghostwriting/
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          https://www.facebook.com/rapup/photos/10156762257912844
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          https://www.facebook.com/rapup/photos/10156222481042844
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          https://www.facebook.com/rapup/photos/10158279153472844
